     Case 2:20-cv-07630-DMG-JEM Document 17 Filed 11/19/20 Page 1 of 2 Page ID #:47



1
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2     Adrian R. Bacon (SBN 280332)
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      Attorneys for Plaintiff
8

9                        UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
10

11                                    ) Case No.
      KARLY NIEMAN, individually and on
12
      behalf of others similarly situated,
                                      )
                 Plaintiff,           ) 2:20-cv-07630-DMG
13
                                      )
14          vs.                       )
15    REDKORR, LLC dba KORRAGENT; NEX ) NOTICE OF SETTLEMENT
      COMPANIES, LLC; and DOES 1-10   ) AS TO INDIVIDUAL CLAIMS
16    Inclusive,                      ) ONLY
17               Defendants.          )
                                      )
18
                                      )
19                                    )
20          NOW COMES THE PLAINTIFF by and through their attorney to
21
      respectfully notify this Honorable Court that this case has settled individually.
22
      Plaintiff requests that this Honorable Court vacate all pending hearing dates and
23
      allow sixty (60) days with which to file dispositive documentation. This Court
24
      shall retain jurisdiction over this matter until fully resolved.
25
      Dated: November 19, 2020                   Law Offices of Todd M. Friedman, P.C.
26

27                                                               By: s/ Adrian R. Bacon
28                                                                     Adrian R. Bacon



                                          Notice of Settlement
     Case 2:20-cv-07630-DMG-JEM Document 17 Filed 11/19/20 Page 2 of 2 Page ID #:48



1
                              CERTIFICATE OF SERVICE
2

3     Filed electronically on November 19, 2020, with:
4
      United States District Court CM/ECF system
5

6
      Notification sent electronically on November 19, 2020, to:

7     To the Honorable Court, all parties and their Counsel of Record
8

9
      s/Adrian R. Bacon
10     Adrian R. Bacon
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                                        Notice of Settlement
